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The Honorable Brian D. Lynch
Chapter 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

In Re: Case No.: 19-42329-BDL

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Ericka Anne Michal | Chapter 7
Debtor. |

DECLARATION OF DOUGLAS L. THEENER
IN SUPPORT OF MOTION BY JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
FOR RELIEF FROM THE AUTOMATIC STAY

I, Douglas L. Theener., declare:
1. Lam over the age of eighteen and am authorized to make this declaration on behalf

of JPMorgan Chase Bank, National Association (“Chase”)

2. Lam presently a Vice President for Chase. In this position, I have
access to the business records of Chase, and my responsibilities include ascertaining and
verifying amounts due and payable as to delinquent bankruptcy accounts.

3. The facts stated in this declaration are based upon information that I obtained by
reviewing records maintained in the ordinary course of Chase’s business, as part of regularly
conducted business activity, by or from information transmitted by person(s) with knowledge of
the events described therein, at or near the time of the event described.

4. Chase is the servicer and holds the note made by Ericka A Michal executed a note
dated October 13, 1998 in favor of Washington Mutual Bank, a Washington Corporation, in the
original principal sum of $113,044.00 (the “Note”).

5. The original Note is currently held by Chase at the vault located at 780 Delta Dr.

Monroe, LA 71203. An image of the note is available on Chase’s electronic imaging system.

Declaration in Support of Motion fer Relief from Stay - 1 McCarthy & Holthus, LLP
MHF WA-19-157172 108 Ist Avenue South, Ste. 300
Seattle, WA 98104
(206) 596-4856
Reviewer ID: Douglas Theaner 2019-

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Chase maintains a computer tracking system on collateral, including the Note which is
maintained in Chase’s collateral file.

6. The Note is secured by a Deed of Trust encumbering certain real property
commonly known as 1627 6th Ave SW, Puyallup, WA 98371. |

7. The unpaid principal balance of this loan as of September 1, 2019 is $127,199.64
together with accrued interest in the amount of $47,804.20, for a combined total of $175,003.84.

8. Interest continues to accrue from the date set forth in paragraph 4, above, at the rate
5.500% per year.

9. The Debtor failed to make payments with respect to this loan during the months of
December, 2012, January, 2013, February, 2013, March, 2013, April, 2013, May, 2013, June,
2013, July, 2013, August, 2013, September, 2013, October, 2013, November, 2013, December,
2013, January, 2014, February, 2014, March, 2014, April, 2014, May, 2014, June, 2014, July,
2014, August, 2014, September, 2014, October, 2014, November, 2014, December, 2014,
January, 2015, February, 2015, March, 2015, April, 2015, May, 2015, June, 2015, July, 2015,
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2018, October, 2018, November, 2018, December, 2018, January, 2019, February, 2019, March,
2019, April, 2019, May, 2019, June, 2019, July, 2019, August, 2019. The total contractual
arrearage due as of September 1, 2019 is: $91,278.52. Please note that additional payments will
come due after September 1, 2019.

10. The sums set forth in this declaration do not include any late charges, escrow
advances, attorneys’ fees, costs, or other fees and charges that might otherwise be included in

the event that a payoff is requested or provided.

Declaration in Support of Motion for Relief [rom Stay -~ 2 McCarthy & Holthus, LLP
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11. The Note, and Supplemental Riders, Amendments, Modifications, Deed of Trusts
and Assignments, if any, are attached hereto as Exhibit “A” and are true and correct copies of
the originals.

I declare under penalty of perjury that the foregoing is true and correct and that this

declaration was executed at 3415 Vision Drive, Columbus, OH 43219 on

 
 

 

 

 

 

October 23rd, 2019 a sal J
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DECLARANT
Nanve: Douglas L. Theener
Title: Vice President
Company: JPMorgan Chase Bank, N_A.
Date: October 23rd, 2079
Declaration in Support of Motion for Relief rom Stay - 3 McCarthy & Holihus, LLP
MH# WA-19-157172 108 Ist Avenue South, Ste. 300

Seattle, WA 98104

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